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                                                                                                    u N I T'ED STpJ-E{i n }.qr6" /-
                             for a Warrant



                                      UNlrBo SrarBs Dlsrrucr CoURT AU6 I I zr,?3
                                                                      for the
                                                           District ofNew Mexico                         MrlgI_ELLR
                                                                                                             CLERK op
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                                                                                                                               cffRT
                                                                                                                                     .-
               In the Matter of the Search of
           (Brieflv describe lhe DroDeilv to be seached
           'or
               i1intily the persdn by nake and address)                                caseNo.           23' lS.3G,r R
    Residence at 803 E. sth St, Roswell, NM, 68201
                  (Subject Premises)


    APPLICATION TOR A WARRANT BY TELEPEONE OR OTEER RELIABLE ELECTRONIC MEAT{S

      . I, a federallaw_enforcement ofticer or an attomey forthe govemment, request a search warrant and state under
penalty of perjury that I have reason to believe that on th-e following person or pr<iperty (ideilify rte percon or dcscrtbe he

  See Attachment A, which is attached hereto and fully incorporated herein.

located in    the County of Chaves District of                            Nar Mexico                     , there is now concealed \l*ttti$y ne
person or describe the prcpeily to be seized):

 See Attachment B, attached hereto and fully incorporated herein by referEnce


           The basis for the search under Fed. R. Crim. P. a l(c) is (check one or more):
                 devidence of a crime;
                 dcontraband, fruits of crime, or other items illegally possessed;
                  d property designed for use, intended for use, or used in committing a crime;
                  O a person to be arrested or a person who is unlawfully resEained.
           The search is related to a violation of:
           Code Section                                                               Affense Descrlption
       21 USC 841                                 Distribution and Possession with lntent to Distribute a Controlled Substance
       21 USC 846                                 Conspirary to Dishibute a Controlled Substance


           The application is based on these facts:
          See Affidavit in Attachment C, aftached hereto and fully incorporated herein by reference


            d Continued on the attached sheet.
            O Delayed notice of                  days 1g*e eruct endingdote if nore ttutr 30                             7 is requested under
                l8 U,S.C. $ 3103a, the basis of which is set forth on the attached



                                                                                                             HSlTask Force Officer
                                                                                                     Prlnted nan e ard tllle

Attested to by the applicant in accordance with the reguirements of Fed. R. Crim. P. 4.1 by
  teleohone                                                       (specify reliable electronic mcaas).



Date: August 11,2023

City and state: Las Gruces, New Mexico                                             Jerry H. Ritter, United States Magistnate Judge
                                                                                                     Prlnted nome and title
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        i
        I                              ATTACHMENTA
                                       *

        :



        i           NESCRIPTON OF LOCATION TO BE SEARCHED

       The Subject Premises is the residenee located at 803 E. 5th St, Roswell, New Mexico,
88201. The Subject Premise to be seirched includes a includes a single-family home structure.
The residence is constructed out of brick, red in color, and has a salmon in color trim. There is a
porch afning attached to the front of the residence. The front door faces the south and a
driveway is located on the west of the front yard. The front yard has no fence.




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                                         ATTACHMENT B

                                         Items to be Seized

       Evidence of violations of 2l U.S.C. $$ 841 and 846, including the following items:

l. futy cellular telephones, digital tablets, personal digital assistant (PDA) devices or other
communication devices and any and all information stored on such commnnication devices,
including:

       a Phone nuurbers, names, usernames, email addresses, residential addresses, and other
       identiffing information of customers, distibutors, sources of supply, and other
       associates of the user of the communication devices;

       b. Audio and video calls made to or from the communication devices, atong with the
       dnration and date and time each such communication occurred;

       c. Any message logs or messages, whether sent from, to, or drafted on the
       communication devices, along with the date and time each such communication
       occurred;

       d. The content of voice mail messages and audio and video messages stored on the
       communication devices, along with the date and time each such commurication
       occurred;

       e. Photographs or video recordings;

       f. Information relating to the schedule, whereabouts, or travel of the user of the
       communication devices;

       g. Information relating to other methods of commrmications, including the contents of
       those commuuications, utilized by the user of the communication devices and stored
       on the communication devices;

       h. Bank records, checks, credit card bills, account information and other financial
       records; and                  :




       i. Evidence of user attribution showing who used or owned the communication devices,
       such as social media accormti, email ad&esses, messages, location informatiorq
       photographs and videos, phonebooks, saved usernames and passwords, documents, and
       intemet browsing history;
                                     i
                                     I

2. Records relating to the importatiop, distributiorL and possession of controlled substances,
including, but not limited to books, rfcords, receipts, cell phones, cell phone records, notes,
ledgers, hotebooks, border crossing {ocuments, designated codes and other papers relating to the '
tansportation, ordering, purchase anp distribution of controlled zubstances including but not
limited to methamphetamine; I
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3. Papers, tickets, notes, schedules, receips including bill of sales for vehicles, registration and
licensing of vehicles, license plates, vehicle titles, registation, docume,lrt!, stickers, and other
proof of ownership and tar compliance, driver's license, or proof of instuance and liability;

4. Financial documents, including but not limited to, credit card statements, tarr returns, safe
deposit records, safe deposit keys, barrk records, banl( statements, money orders, Western Union
receipts, checking account records, cashier's checks, passbooks and other items evidencing the
obtainment concealment and/or expenditure of money or assets;

5. Identification and personal records including address books, telephone directories, calendars,
diaries, social security cards, lists of names, social secwity numbers and other personal
identification, telephone and address books or papers of individuals involved in the trafficking of
confrolled substances;

6. Photographs, video recordings, slides, digital files, DVDs, CD-Rs, or other media containing
images or video of individuals involved in the traflicking of controlled substance which
 demonstate his/trer involvement in drug trafficking as well as other notes, records, diaries,
journals, emails, blog entries, which demonstate involvement in drug tafficking;

7. Proceeds of an unlaurfirl activity, including but not limited to, United States ctrrency, jewelry,
vehicles and other assets or financial records related thereto;

8. Documents, books and papers reflecting narnes, addresses and/or telephone numbers and lists
peraining to individuals involved in the tafficking of controlled substances, including but not
limited to methamphetamine;

9. Diaries, purchase records, cash receipts and disbnrsement journals, inventory records and
other rccords relating to the operation of controlled substance sales, repackaging, and
redistibution in violation of 2l U.S.C. 841 and 846;

10. United States crrrency, crurency counting machines, precious metals, jewelry, financial
inshrments including stocks and bonds, and all other items ofvalue, and all sales receipts for
items of value, that evidence the proceeds ftom the smuggling, transporting or distribution of
drugs.

11. Devices or objects utilized to account for proceeds related to violation'of yiolation of 2l
U.S.C.$$ 841 and 846, including but not limited to currency counting niachines;

12. Controlled substances, drug paraphernalia" and packaging materials, including scales, plastic
baggies, vacuum sealing machines, and tape;

13. Firearms and ammunition as defined by Title l8 USC Section 921;

14. Valid or false identification documents, including drivers' licenses, social secruity cards,
state identification cards and foreign identification documents;




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  15. Bills, notes, contacts, or other documents reflecting the ownership, subscription information
 or use or conhol of one or motr telephones or the location to be searched;

 16. Tools utilized in the alteration of motor vehicles to   fasilitate         narcotics in
 violation of2l U.S.C. $$ 841 and 846; and

  17. Safes, lock boxes, or other locked container$, in u&ich the iterrs in paragraphs I through 16
. could be concealed.




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                                       ATTACHMENT C

                 AFT'IDAVIT IN SUPPORT O[' ORDER AUTHORIZING




I, Joseph walker, being first duly sworn, herby depose and state as follow:

    l. This Affidavit is submitted in support of an order authorizing the entry into the Subject
        Premises, as more fully described below and in Attaohment A to the Search Warrant

        Application, for the purpose of searching and seizing evidence of violations of 2l U.S.C.

        $$ 841 and 846 (distibution and possession with intent to distribute a contnolled

        substance and conspiracy to do the same).


                                       INTRODUCTION
    2. I am a Task Force Officer (TFO) with the Deparrnent of Homeland Security
        Investigatiofis (HSD. As such, I am a law enforcement officer of the United States

        within the meaning of 18 U.S.C. 92507(7) and am empowered by law to conduct

        investigations and to make arrests for offlenses entimerated in 18 U.S.C. $ 2516.

    3. My experience as a TFO includes, but is not limited to, conducting criminal investigations

        concerning violations ofthe Connolled Substances Act, conducting physical surveillance,

       interviewing witnesses, writing affidavits forandexecuting seirchwarrants, working with

       undercover agents and informants, issuance of administative and federal gnnd jury

       subpoenas, analysis of phone toll aud financial records, and analysis of data derived from

       the use ofpen registers, and tap and traces.

    4. I have received raining and have experience in the investigation of violations ofthe federal

       drug and money-laundering laws. As a resulq I am familiar with matters including the


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   means and methods used by persons and drug trafficking organizations to purchase,

   Eansport, store, and distibute dmgs, and to hide profits generated from those tansactions.


5. Through my naining, education, and experience, I have become familiar with the
   following:

      a. Drug taffrckers commonly keep books, records, receipts, notes, ledgers, and other
         papers relating to the tansportation, ordering, purchase, and distibution of

         controlled substances.

         Drug haffickers oftenamass large amounts ofprofits derived fromtheirillegal drug

         pafficking activities. Documents and other records pertaining to assets which are

         proceeds of the drug trafficking described herein would constitute evidence of the

         same drug trafficking.

         Drug taffickers often maintain large amormts of U.S. currency derived from illegal

         activities.

         Drug taffrckers often maintain ledgers, abcount books and other pape$ detailing

         the receipt, storage, sale and distibution of dmgs. These ledgers often contain

         amounts of drugs obtained by the organization, andaccomting ofpayments ofdnrg

         proceeds, including accounts receivable and accounts payable.

         Drug taffickers often maintain phone books, address books and other papenr

         containing names, telephone numbers, and addresses of suppliers and purchasers of

         drugs. Drug traffickers will often write these documents in code and they mainain

         documents conaining the key to their codes.

         Drug taffickers also often maintain documents or receips for various services,

         such as bank statements, telephone bills, utility bills, vehicle repair, consumer


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    goods purchases, all evidencing the disposition of illegal profits, the existence of

    "stash houses," and the existence of other assets derived from dnrg proceeds. Drug

    Eaffickers often maintain various documents evidencing ownership of assets such

    as real estate deeds, vehicle titles, and insurance policies.


    Drug tafficking is a "for profit business" and, as suc[ naffickers must maintain

    the types of documents described above so as to determine profiability and to tack

    debts owed by and to the trafficker.

    Drug traffickers often keep photographs and videos of themselves and their co-

    conspirators, drugs, and their illegal profits.

    Drug taffickers often use surveillance cameras in and around their residences and

    locations where drugs are stored to detect law enforcement and to protect dnrgs and

    drug proceeds. These surveillance cameras can be capable of storing footage wittrin

    the camera or on a separate storage device.

    Drug taffickers often maintain safes or deposit boxes where they store drugs, U.S.

    crurency and other documents eviaenqing their dnrg tafficking. It is common

    knowledge that safe deposit boxes require the owner to keep the key to the safe

    deposit box.

    Drug naffickers often have in their possession firearms and ammunition to protect

    themselves, their dnrgs and the proceeds derived from the distribution ofdnrgs from

    individuals who seek to rob them or from competing drug traffickers.

    Drug taffickers often maintain one or more cellular or *smart' telephones

    ("devices'l) whichthey utilize to firther their drug tafficking. Drug tiaffickers use

    these devices to commtmicate operational directives and information concerning



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    the conduct of the organization's illegal activities to other organization members,

    including their suppliers, distibutors and other co-conspirators. I know, based

    upon my taining and experience, that timely communication of information

    between organizational members is critical to .the overall success of an

    organization's illegal activities. The critical nature of this information is derived

    from the necessity of the organization's management to provide instnrctions for the

    importation, storage, transportatiorl and disnibution of drug, as well as the

    subsequent laundering of the proceeds ofthese illegal activities.

    I also know that some devices utilize subscriber identity module ('SIM') cards. A

    SIM card is a chip that is used to authenticate a device to a network. The SIM card

    generally contains subscriber information'and authentication information, and it

    may contain conacts and encryption information.' The portability of SIM cards in

    some devices allows a user to easily change devices, while maintaining the same

    telephone number, by removing the card from one device and inserting it into

    another. While SIM cards may have the capability to store some of the evidence

    described above, the storage capacity ofdevices tends to far exceed that ofSIM

    cards. Which information is stored on the SIM card, on the device, or in both

    locations varies and depends on variables such as the user-defined settings on the

    device and the memory capacity of the SIM card. Accordingly, information

    pertaining to dnrg tafficking activity may be located on the SM sard itself, as well

    as the device in which the SIM card was inserted.


    I furttrer know from my training and experience that a cache of information
    including dialed, received or missed calls and messages sent, received or placed in



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    draft status, can be found on these devices. I know that the identities and telephone

    numbers of other participants in the drug trafficking activity are maintained in the

    contact lists of these devices. In my experience, drug traffickers also use these

    devices to take and storephotographs or video recordings of themselves with their

    co-conspirators and with contaband, including drugs, currency and firearms. Drug

    tafEckers also use the GPS or location applications of these devices, which can

    reveal their whereabouts when they conducted or arranged dnrg related activities

    or tavel. In addition, drug traffickers also use these devices to store information

    related to the financial transactions that occur during the course of their dnrg

    trafficking, suc,h as drug ledgers and financial accounts and transaotions. In my

    experience, the devices used by drug traffickers often contain evidence relating to

    their drug trafficking activities, including, but not limited to, contact lists, lists of

    recent call activity, stored text and voice mail messages, photographs and video

    recordings, GPS and location inforrration, and financial accounts and records.

    Information stored within a mobile device may provide crucial evidence of the

    '\rho, what, why, when, where, and how" of the criminal conduct under
    investigatioru thus enabling the United States to establish and prove each element,

    or, alternatively, to exclude the innocent from firther suspicion. In my taining and

    experience, information stored witttin a mobile device (e.g., registry information,

    communications, images and movies, tansactional informatioq records of session

    times and durations, intemet history, and anti-virus, spyware, ild malware

    detection programs) can indicate who has used or controlled the mobile device.

    This "user attribution" evidence is analogous to the search for "indicia of


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   ' occupancy" while executing a search warant at a residence. Information stored
      within a mobile device may provide relevant insight into the device user's state of

      mind a9 it relates to the offense under investigation. For example, information

      within the mobile device may indicate the owner's motive and intent to commit a

      crime (e.g., internet searches indicating criminal planning), or consciousness of

      guilt (e.g., nuuring a'\viping" pro$am to destroy evidence on the mobile device

      or password protecting/encrypting such evidence in an effort to conceal it from law

      enforcement).

  o. Drug traffickers often maintain drugs, dnrg prooeeds, ledgers and other documents
      related to dnrg tafficking, and firearms, in their primary residence or place of

      business and in their vehicles to afford them ready access to those items.

  p. Drug traffickers often conceal drtrgs, drug proceeds, firearms, and ammunition on
      the curtilage of their property, including buried uuderground and inside of vehicles,

      garages, storage sheds, and other unattached buildings, in order to prevent law

      enforcement or individuals who seek to rob them from discovering such items.

  q. Drug traffickers often place ownership of vehicles, real estate, telephones and other
      assets in nominee rulmes and register utility services in nominee names to avoid

      law enforcement detection.

                                SUBJECT PREIIIISES

The following information is based upon my personal kuowledge, as well as information

provided by other local officers and is presented as probable cause to seek issuance of a

search warrant altowing agents to enter and conduct a search of the property of Esteban




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   Marquez-Nunez, located at 803 E. 5ht St, Roswell, NM, 88201, (hereinafter the "Subject

   Premises') more fully described in Attachment A. '

7. The Subject Premises is the residence located at 803 E. sth St, Roswell, New Mexico,
   88201. The Subject Premises to be searched includes a includes a single-family home

   stnrctue. The residence is constnrcted out of brick, red in color, and has a salmon color

   trim. There is a porch'awning attachedto the front of the residence. The front door faces

   the south and a driveway is located on the west of the front yard. The front yard has no

   fence.

8. Based on physical surveillance and undercover agent (UC) reporting, agents arc aware
   that Marquez-Nunez is currently residing at the Subject Premises.

9. This Affidavit is intended to show only that there is suf;Ecient probable cause for the
   requested warrant and does not set forth all of my knowledge about this matter. Facts

   presented in this Affidavit are based on my knowledge, obsbrvations, and direct

   participation in this investigation, as well as through conversations with other agents

   and/or persons involved in the investigation, and through the review of reports, and

   other documentation generated by myself and others during the course of this

   investigation and other related investigations.

10. The following information is presented as probable cause to search the Subject

   Premises. Because this Affidavit is being submitted for the limited purpose of

 . establishing probable cause, I have not included each and every known fact regarding
   ttre instant investigation. More specifically, I have set forth only pertinent facts that I

   believe are necessary to establish probable cause to search the Subject Premises for

   evidence of violations of 2l U.S.C. $$ 841 and 846.



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I l. HSI and the NMSP Narcotics Unit are currently investigating Esteban Marquez-Nunez

   who is selling narcotics in Roswell, New Mexico. tn May 2022,NMSP Narcotics Unit,

   initiated an investigation into ayoung Hispanic male, later identified as Esteban

   Marquez-Nune4 posting an assortnent of narcotics on soqial media for sale. From May

   2022to August 2022, Marquez-Nunez would either meet on foot or have an unknown

   female drive him to the meeting locations to sell narcotics to a UC. Between May 2022

   to August 2T22,the UC purchased approximately 19.3 gross $ams of fentanyl and 6.6

   gross grams of Xanan from Marquez-Nunez.

12. On November 22,2022, the UC contacted Marquez-Nunez via social media and

   arrangbd to purchase $300 worth of fentanyl pills. The UC agreed to meet Marquez-

   Nunez at the Planet Fitness parking log'located atl709 S. Main St, Roswell, NM. The

   UC arrived at the meeting location and observed Marquez-Nunez arrive'n a2017 silver

   Nissan Altimq displaying NM Temporary Tag22t-346353 (hereinafter "subject

   Vehicle"). Marquez-Nunez was identified the driver and sole occupant in the vehicle.

   The Subject Vehicle parked, and Marquez-Nunez waved the UC over to sit in his

   vehicle. The UC entered the front passenger side of the vehicle and observed a clear

   plastic bag of approximately 500 suspected fentanyl pills. Marquez-Nunez began to

   remove the fentanyl pills from the larger clear bag and placcd them in a smaller clear

   bag. The UC exchanged $300 for approximately 3.8 grams of fentanyl. The drugs were

   sent to the Scientific Laboratory and tested positive for fentanyl.

13. On May 16, 2023,the UC contacted Marquez-Nunez via social media'and arranged to

   purchase l4 grams of methamphetamine. Marquez-Nr.rnez stated he only has seven



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   grams of methamphetamine for $120 and would also sell Xanar for $180. The UC

   agreed to meet Marquez-Nunez at the Allsup's parking lot, located at 520E. 2nd St,

   Roswell, NM. NMSP agents established surveillance atthe Subject Premises. Agents

   observed that the Subject Vehicle driven by Marquez-Nunez during the last deal no

   longer had temporary plates but.instead had a valid NM license plate bearing BY\2W78.

   Agents witnessed Marquez-Nunez exit the Subject Prerrises and enter the Sutject

   Vehicle. Agent's followed Marquez-Nunez to the meet location. Marquez-Nunez did not

   make any stops between the Subject Premises and the meet location. The UC observed

   the Subject Vehicle enter the meeting location and confirmed that the driver and sole

   occupant was Marquez-Nunez. Marquez-Nunez parked and signaled to the UC to again

   sit in the Subject Vehicle. The UC entered the Subject Vehicle and similarly observed

   Marquez-Nunez holding a clear plastic bag containing suspected methamphetamine and

   Xanax. Marquez-Nuez stated to the UC that he usualty purchases tbree pounds of

   methamphetamine at a time. The UC then exchanged $300 for 6.1 grams gross weight of

   methamphetamine and 19 Xanor pills weighing6.4 grErms gross weight. The drugs were

   sent to the Scientific Laboratory and tested positive for metharnphetarnine and Xanan.

14. On May 17,2023, the UC again contacted Marquez-Nunezviasocial media and

   arranged to purchase 29 grams of methamphetamine and 26 Xanor pills for $450. The

   UC agreed to meet Marquez-Nun ez d,theFarmers Market Parking lot, located at 600 E.

   2od St, Roswell, NM. NMSP agents established surveillance at the Subject Premises.


   Agents observed Marquez-Nunez exit the Subject Premises and enter the Subject

  Vehicle. Agents followed Marquez-Ntnez to the meet location. Marquez-Nunez did not

  make any stops between the Subject.Prenrises and the meet location. The UC observed



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   Subject Vehicle enter the meet location and confirmed Marquez-Nunez as the driver and

   sole occupant. Marquez-Nunezthenparked next to the UC. The UC exited the vehicle

   and entered the front passcnger side of the Subject Vehicle. The UC observed Marquez-

   Nunez holding a clear bag of suspected methamphetamine and another small bag on

   Xana.x. The UC exchanged $450 for 29 gams gross of methamphetamine and zlKanax

   pills. The drugs were sent to the Scientific Laboratory and tested positive for

   methamphetamine and Xanor.

15. On May 21,2023, the UC contactgd Marquez-Nunez via social media and agreed to

   ptuchase $300 of fentanyl. The UC agreed to meet at the Farmers Market parking lot.

   While the UC was at the meet location, Marquez-Nunez informed the UC that he did not

   have all the fentanyl. The UC requested Xanax instead of fentanyl. NMSP agents

   established suneillance at the Subject Premises. Agents observed Marquez-Nunez exit

   the Subject Premises and enter the Subject Vehicle. Agents followed Marquez-Nunezto

   the meet location. Marquez-Nunez did not make any stops between the Subject Premises

   and the meet location. The UC then observed Marquez-Nunez arrive at meeting location

   in the Subject Vehicle. Marquez-Nunez was holding a small clear bag conaining

   suspected fentanyl and Xana:r pills. The UC exchanged $300 for 6.5 fentanyl pills and

   25 Xanax pills. The dnrgs were sent to the Scientific Laboratory and tested positive for

   fentanyl and Xanax.

16. On May 22,2023, Marquez contacted the UC and arranged to sell I 12 grams of

   methamphetamine for $l;250. The UC agreed to meet at the Famrers Parking lot on May

   24,2023.




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17. On May 24,2023, HSI and NMSP agents established surveillance at the Subject

   Premises. Agents witressed Marquez-Nunezexrtthe Subject Premises and enterthe

   Subject Vehicle. Agents followed Marquez-Nunezto the meet location. Marquez-Nurez

   did not make any stops between the Subject Premises and the meet location. The UC

   observed Subject Vehicle enter the meeting location and identified the driver and sole

   occupant as Marquez-Nunez. Marquez-Nunez then parked next to the UC. The UC

   exited the vehicle and entered the Subject Vehicle and sat in the front passenger side of

   the vehicle. Marquez-Nunez reached into tlre center console and grabbed a gallon size

   clear plastic bag containing suspected methamphetamine. The UC exchanged $1,250 for

   the suspected methamphetamine.

18. Following the controlled purchase on May 24, agents rnaintained surveillance of

   Marquez-Nunez and the Subject Vehicle. Marquez-Nunez was observed going to Wells

   Fargo Bank, located at 140 S. Main ST, Roswell, NM and go to an outdoor ATM in the

   vehicle lanes. Agents witressed Marquez-Nunez deposit money into tlre ATM.

   Surveillance was terminated a short time later. The suspected methamphetamine that

   was purchased from Marquez-Nunez that day was field tcsted with a TnrNarc and tested

   presumptive positive for the properties and characteristics of methanrphetamine. The

   methamphetamine had a total gross weight of 122 grams. The dnrgs were transported

   and booked into the HSI El Paso evidence room and will be sent to the Drug

   Enforcement Administation laboratory for testing.

19. On July 21, 2023,the UC logged onto Telegram and took photos of Marquez-Nunez'

   postings, showing a large brick of what appeared to be cocaine in a clear vacuum sealed

   bag stating $700/half, $L1O0(ZW,4IUQP "Quarter Pound", $7.EK/IIP "Half Powrd"




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    l4lV?ounds on his telegram social media application. At that time Marquez-Nunez had

    108 members who was allowed to view the posting

20. On August l,2123,the UC contacted Marquez-Nunez on his known personal phone

   number and attempted to arrange the purchase of three pounds of methanrphetamine.

   Marquez-Nunez responded, "Let me ty to get them for next week." Marquez-Nunez

   Iater replied, "Hey bro im only geeting 2pounds because I don't have much money to


  . buy." The UC agreed and set a meet time for Friday, August 11,2023, at noon.
21. On August 7,2023, the UC contacted Marquez-Nunez on his known personal phone

   number and asked, "We still locked in for Friday?" Marquez responded, "Yo g I only

   got Half Pound left, Thays all my plug had left, But I can get u w blues to.' Thnough

   furttrer conversation the UC agreed to pruchase half potrnd of methamphetamine and

   approximately 1,100 fentanyl pills for $5,600.

22. During furttrer conversation, Marquez-Nunez sent a photo to the UC of a large clear bag

   containing blue fentanyl pills. Based on my training and experience, the number of pills

   obsened in the photo is consistent with dnrg traffrcking and not personal use.

23. Marquez-Nunez then stated, 'oI got everything ready for you bro," and sent the UC a

   video of what appeared to be a hand belonging to a male holding a smaller bag

   containing fenhnyl pills.

24. OnAugust ll,2023,lhe UC contacted Marquez-Nunez on his known personal number

   and set the meet location at the Farmers Cormty Markqt, located at 600 E. 2nd Ave,

   Roswell, NM, for approximately I100 tu. At approximately 1045 hrs agents established

   surveillance at the Subject Prcmises.




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25. Atapproximately ll25 hrs, agents witressed Marquez-Nunez exit the Subject premises

    and enter the Subject Vehicle and drive away Agents followed Marquez-Nunez to the

    pre-determined mee location and ensr.red Marquez-Nunez made no stops while enroute

    to the meet location.

 26. Atapproximately I 130 hrs the UC observed Marquez-Nunez pull into the meet location

    parking lot driving the Subject Vehicle as the sole occupant. The UC exited the vehicle

    and approached the driver side window of qr Suffect Vehicle.

27.T}lre NMSP Special Weapons and Tactics (SU/AT) officers then initiated an arrest

    Marquez-Nunez.

28. In plain view, a b4g of blue pills and white appeared to be white powder was lying

    between the driver side door and the driver seat.

29. Based on my training and experience, the photographs of large amount of narcotics

    shared pith the UC, and knowledge of this   ' vestigatioq I believe that Marquez-Nrxrez
   stores large quantities of narcotiis at the Subject Premises. I furttrer believe, based on

   my taining, experience and knowledge of the investigation Marquez-Nunez keeps drug

   proceeds at the Subject Premises.

                                    CONCLUSION

30. Based on the foregoing, I submit that this Affidavit supports probable cause for a

   warrant to search the Subject Premises described in Attachment A and seize evidence of

   violations of 2l U.S.C. $$ 841 and 846 (possession with intent to distribute a controlled

   substance, and conspiracy to do the same).




                                             Respectfully Submitted,



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Subscribed and sworn to before me this
11 day ofAugust,2A%.




United States Magisilate Judge




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